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EXHIBIT 1
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July 9, 2013

Via ECF & Courier

The Honorable Samuel Conti,
Senior United States District Judge,
United States District Court,
Northern District of California,
Courtroom No. 1, 17th Floor,
450 Golden Gate Avenue,
San Francisco, CA 94102.

Re: Inre: Cathode Ray Tube (CRT) Antitrust Litigation,
No. 07-cv-05944, MDL No. 1917

Dear Judge Conti:

I write on behalf of defendants Thomson Consumer Electronics, Inc.
(“Thomson Consumer”) and Thomson S.A. (which has to date only appeared to move to
dismiss on personal jurisdiction grounds) regarding Your Honor’s July 2, 2013 Order
Setting a Status Conference for September 13, 2013 (ECF No. 1758, as modified by ECF
No. 1764) (the “Order”), which requires the attendance “[a]ll principal parties and
lawyers.” Thomson Consumer and Thomson S.A. were only recently added to this
proceeding as defendants in certain newly-filed opt-out actions.

In accordance with the Order, I write, as lead counsel for the Thomson
defendants, to notify the Court that I will be unable to attend the Status Conference as I
will be out of the country on a prepaid vacation for which plans were made some time
ago. In addition, the other senior attorney of record for the Thomson defendants, Laura
Kabler Oswell, is scheduled to be in Dallas, Texas on September 13, 2013 for a trial
scheduled to begin on September 16, 2013. Accordingly, unless Ms. Oswell’s trial settles
or is adjourned, we anticipate that another attorney from Sullivan & Cromwell will attend

Los Angeles, California 90067-1725
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The Honorable Samuel Conti -2-

the Status Conference on behalf of the Thomson defendants, along with a representative
from Thomson Consumer.

Respectfully Submitted,
: {)
Ndubd bors
Robert A. Sacks (Aso”)

cc: All Counsel (Via ECF)
Hon. Judge Charles Legge c/o Sarah Nevins via email
